KLEVANSKY PIPER, LLP
A Limited Liability Law Partnership
SIMON KLEVANSKY                  3217-0
ALIKA L. PIPER                   6949-0
CARISA LIMA KA’ALA DUFFY 7372-0
841 Bishop Street, Suite 1707
Honolulu, Hawaii 96813
Telephone: (808) 536-0200
Facsimile: (808) 237-5759
E-Mail: sklevansky@kplawhawaii.com
        apiper@kplawhawaii.com
        kduffy@kplawhawaii.com
Attorneys for Trustee Dane S. Field

            IN THE UNITED STATES BANKRUPTCY COURT

                      FOR THE DISTRICT OF HAWAII

In re                                    Case No. 16-01294
                                         (Chapter 7)
ROLLOFFS HAWAII, LLC,
                   Debtor.

DANE S. FIELD, Chapter 7 Trustee for     Adversary Proceeding No. 18-90035
the Estate of Rolloffs Hawaii, LLC
                                         PLAINTIFF TRUSTEE DANE S.
                   Plaintiff,            FIELD’S NOTICE OF ISSUANCE
                                         OF A SUBPOENA TO PRODUCE
            v.                           DOCUMENTS, INFORMATION,
                                         OR OBJECTS; EXHIBIT “1”
TRASHMASTERS, LLC; CORRIDOR
CAPITAL LLC; CORRIDOR                    (Custodian of Records of Fifth Third
CAPITAL ADVISORS, LLC;                   Bank)
CORRIDOR TRASHMASTERS, L.P.;
SPB MANAGEMENT, LLC; SPB
WASTE, LLC; SPB CAPITAL GP,
LLC; SPB CAPITAL PARTNERS,
L.P.; SPB PARTNERS, LLC; CRAIG
ENENSTEIN; L. GEOFFREY


 U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 1 of 33
GREULICH; EDWARD A.
MONNIER; JESSAMYN DAVIS; ARI
D. BASS; SCOTT R. BULLOCH;
KENNETH M. PRESSBERG;
KRISTIAN GOURLAY; DOUGLAS
L. ASAY; DOUGLAS D. ASAY;
CHARLES E. LEONARD; BRIAN
COLBECK [ESTATE OF BRIAN
COLBECK]; ROLLOFFS HAWAII,
INC.; THE KNG GROUP, LLC;
COLBECK CONSULTING LLC;
JOHN DOES 1-50; JANE DOES 1-50;
DOE CORPORATIONS 1-50; DOE
PARTNERSHIPS 1-50; DOE
ENTITIES 1-50,

                       Defendants.


                 PLAINTIFF TRUSTEE DANE S. FIELD’S NOTICE OF
              ISSUANCE OF A SUBPOENA TO PRODUCE DOCUMENTS,
                          INFORMATION, OR OBJECTS

                 PLEASE TAKE NOTICE that on behalf of Plaintiff Trustee Dane S.

Field, chapter 7 trustee of the bankruptcy estate of Rolloffs Hawaii, LLC

(“Plaintiff”), a Subpoena to Produce Documents, Information or Objects will be

served on the following person:

                 Name/Address:

                 Custodian of Records of Fifth Third Bank
                 38 Fountain Square Plaza
                 Cincinnati, OH 45263




120286.docx                               -2-
 U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 2 of 33
              By October 11, 2019 at 11:00 a.m. HST (5:00 p.m. EST), Fifth Third

Bank is to produce all responsive documents listed in Exhibit “A” to the Subpoena

to Produce Documents, Information or Objects to Carisa Lima Ka’ala Duffy, Esq.,

Klevansky Piper, LLP, 841 Bishop Street, Suite 1707, Honolulu, Hawaii 96813.

A copy of the Subpoena to Produce Documents, Information or Objects is attached

hereto as Exhibit “1”.

              This Notice is made pursuant to Rule 45(a)(4) of the Federal Rules of

Civil Procedure, made applicable by Rule 9016 of the Federal Rules of Bankruptcy

Procedure.

              DATED: Honolulu, Hawaii, September 4, 2019.

                                                 /s/ Carisa Lima Ka’ala Duffy
                                                 SIMON KLEVANSKY
                                                 ALIKA L. PIPER
                                                 CARISA LIMA KA’ALA DUFFY

                                                 Attorneys for Plaintiff
                                                 Trustee Elizabeth A. Kane
Dane S. Field, Bankruptcy Trustee v. TrashMasters, LLC, et al., Adversary Proceeding No. 18-
90035, United States Bankruptcy Court, District of Hawaii; PLAINTIFF TRUSTEE DANE S.
FIELD’S NOTICE OF ISSUANCE OF A SUBPOENA TO PRODUCE DOCUMENTS,
INFORMATION, OR OBJECTS




120286.docx                                -3-
 U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 3 of 33
                  EXHIBIT “1”




U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 4 of 33
                                  ExhibitDkt
U.S. Bankruptcy Court - Hawaii #18-90035 "1"# 77 Filed 09/04/19 Page 5 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 6 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 7 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 8 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 9 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 10 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 11 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 12 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 13 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 14 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 15 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 16 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 17 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 18 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 19 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 20 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 21 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 22 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 23 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 24 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 25 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 26 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 27 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 28 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 29 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 30 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 31 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 32 of 33
U.S. Bankruptcy Court - Hawaii #18-90035 Dkt # 77 Filed 09/04/19 Page 33 of 33
